THE COURT.
This is an action brought to determine the validity of bonds issued by Islais Creek Reclamation District, in the sum of $1,620,152, the full amount of the assessment levied upon the property owners of said district, representing the cost of the proposed reclamation works. Defendant Whitley contends that the bonds are invalid for the following reasons: First, that the district was never validly organized; second, that the plans of the trustees are indefinite; third, that the proposed works are intended chiefly for harbor development and sewage disposal, and not for reclamation purposes; fourth, that the assessment levied upon his land is inequitable and confiscatory.
[1] These contentions were all made by said defendant and decided adversely to him in the companion case of Whitley v.Islais Creek Reclamation District, (S.F. No. 14000) ante, p. 599 [15 P.2d 742], this day decided. The views expressed in that opinion make unnecessary any further discussion of the issues.
The judgment is affirmed. *Page 786 